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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 IN RE: SENSIPAR (CINACALCET
 HYDROCHLORIDE TABLETS)                 MDL No. 19-2895 (LPS)
 ANTITRUST LITIGATION

 THIS DOCUMENT RELATES TO:              C.A. No. 19-369 (LPS)
                                        C.A. No. 19-1461 (LPS)
 ALL INDIRECT PURCHASER ACTIONS



        AMGEN INC.’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
                   INDIRECT PURCHASER PLAINTIFFS’
       SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT


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 March 30, 2021
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                          NATURE AND STAGE OF PROCEEDINGS

        Amgen Inc. hereby moves to dismiss the end payor plaintiffs’ Second Amended

 Consolidated Class Action Complaint (“EPP Compl.”) under Federal Rule of Civil Procedure

 12(b)(1) for lack of subject matter jurisdiction and Rule 12(b)(6) for failure to state a claim.

                                   SUMMARY OF ARGUMENT

        Four organizations that paid for generic or branded Sensipar in fifteen states are asserting

 claims for damages in fifty states and territories on behalf of a class of indirect purchasers of those

 products. This overreach is EPPs’ attempt to bring the type of uniform, national claim under the

 laws of individual states that is unavailable to indirect purchasers under federal law. Federal

 antitrust law precludes indirect purchasers from recovering damages because such recovery would

 present “a serious risk of multiple liability for defendants” and add “whole new dimensions of

 complexity to treble-damages suits [which would] seriously undermine their effectiveness.”

 Illinois Brick Co. v. Illinois, 431 U.S. 720, 730, 737 (1977). Here, while the EPPs seek only

 injunctive relief under federal antitrust law, they stitch together a “Frankensteinian equivalent” of

 a federal claim for damages by alleging more than one hundred antitrust, consumer protection, and

 unjust enrichment claims under the laws of fifty states and territories. See EPP Compl. ¶¶ 294–

 427; In re Aggrenox Antitrust Litig., 94 F. Supp. 3d 224, 255 (D. Conn. 2015).

        The legal theories for all of the EPPs’ claims are the same as the Direct Purchaser Plaintiffs’

 —that Defendants entered into a “reverse payment” settlement (despite the absence of any

 payment to Defendant Teva) and that patent-litigation settlement agreements between Defendant

 Amgen Inc. and companies that applied to the FDA to sell generic Sensipar unlawfully delayed

 the market entry of generic Sensipar. Compare EPP Compl. ¶¶ 275–292 with DPP Compl. ¶¶ 299–

 319. All of the EPPs’ claims fail because of the dispositive flaws explained in Amgen’s Brief in

 Support of its Motion to Dismiss Direct Purchaser Plaintiffs’ Amended Consolidated Complaint


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 (filed concurrently herewith), which applies to both the DPPs’ and EPPs’ complaints and is

 incorporated herein by reference. Accordingly, the EPP Complaint should be dismissed in its

 entirety. This motion explains additional dispositive flaws in nearly all of EPPs’ state-law claims.

         First, the named plaintiffs lack Article III standing to bring claims under the laws of any

 states in which they did not pay for the products at issue, even though they bring the claims in a

 representative capacity on behalf of absent class members. The standing of the named plaintiffs

 is what matters, and they lack redressable injury in any state in which they did not pay for the

 products at issue. Thus, dismissal for lack of subject matter jurisdiction is required at this threshold

 point in the case for all state-law claims outside of the fifteen states in which named plaintiffs

 allege standing.

         Second, state-specific flaws require dismissal of many of EPPs’ claims in the states in

 which they made payments. EPPs cannot bring a monopolization claim against Amgen under

 California, New York or Tennessee’s antitrust statutes because those statutes do not apply to

 unilateral conduct. Statutory limitations on who can bring the asserted claims preclude EPPs’

 statutory claims under Hawaii, Missouri, and Utah law. And multiple flaws doom the unjust

 enrichment claims, specifically those brought under the laws of Alaska, Florida, Hawaii, Missouri,

 New Jersey, New York, Pennsylvania, South Carolina, and Utah.

         Third, although the Court lacks subject matter jurisdiction to address the merits of claims

 alleged under the laws of states in which the named plaintiffs lack standing, many of those claims

 have additional fatal flaws that would warrant dismissal.

         Fourth, to the extent the Court holds that the EPPs have plausibly pleaded a state-law

 statutory claim, the Court should dismiss that state’s unjust enrichment claim as duplicative.

         Accordingly, Amgen respectfully requests that the Court dismiss EPPs’ Complaint in its




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 entirety or, at a minimum, dismiss all of EPPs’ claims except the few not precluded by lack of

 standing or state-specific grounds for dismissal.1

                                      STATEMENT OF FACTS

         The factual allegations that form the basis of the claims in EPPs’ complaint substantially

 parallel the facts alleged in the DPPs’ complaint, and Amgen incorporates that discussion by

 reference herein. The relevant facts for this motion are that EPPs’ three named plaintiffs,

 Teamsters Local 237 Welfare Fund, Teamsters Local 237 Retirees’ Benefit Fund, and UFCW

 Local 1500 Welfare Fund, assert claims under the laws of Puerto Rico, District of Columbia, and

 all states except Indiana and Ohio. However, those plaintiffs allege they “indirectly purchased,

 paid, or reimbursed for some or all of the purchase price for Sensipar and/or its AB-rated generic

 equivalents” in less than a third of those states (fifteen in all): Alaska, Arizona, California, Florida,

 Hawaii, Indiana, Maryland, Missouri, New Jersey, New York, Oregon, Pennsylvania, South

 Carolina, Tennessee, and Utah. EPP Compl. ¶¶ 19–21 (alleging purchases in Indiana but not

 bringing a claim in that state, presumably because Indiana follows Illinois Brick).

         EPPs’ first three claims for relief allege violations of Sherman Act and thus seek only

 injunctive relief due to Illinois Brick’s prohibition on federal antitrust damages claims by indirect

 purchasers. Id. ¶¶ 275–302. EPPs’ Fourth and Fifth Claims for Relief allege that all defendants

 participated in concerted anticompetitive conduct in violation of twenty-eight states’ statutes,

 including eight where named plaintiffs made payments: Arizona, California, Hawaii, Maryland,

 New York, Oregon, Tennessee, and Utah (id. ¶¶ 309, 321), while EPPs’ Sixth Claim for Relief


 1
   Setting aside the flaws in all claims that are explained in the Motion to Dismiss the DPPs’
 Complaint, the only state law claims that are not the subject of this motion are the Florida consumer
 protection claim; the California consumer protection claim and antitrust claims as to concerted
 conduct; New York and Tennessee antitrust claims as to concerted conduct; and the Arizona,
 Maryland and Oregon claims.


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 alleges monopolization against Amgen under the same statutes. Id. ¶ 330. EPPs’ Seventh Claim

 for Relief alleges violations of three states’ consumer protection statutes, including Florida and

 Missouri. Id. ¶¶ 336–62. EPPs’ Eighth Claim for Relief claims unjust enrichment in fifty states

 and territories, including fifteen where named plaintiffs made payments. Id. ¶¶ 363–426.

                                        LEGAL STANDARD

        To withstand a Rule 12(b)(1) motion to dismiss, a plaintiff must sufficiently allege the

 three elements of constitutional standing: an injury-in-fact, which is fairly traceable to the

 challenged conduct, and redressable by a favorable decision. In re Generic Pharm. Pricing

 Antitrust Litig., 368 F. Supp. 3d 814, 828 (E.D. Pa. 2019) (citing Lujan v. Defs. of Wildlife, 504

 U.S. 555, 561 (1992)).

        To withstand a Rule 12(b)(6) motion to dismiss, a complaint “must contain sufficient

 factual matter . . . to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007)). In ruling

 on a plaintiff’s state-law claims, federal courts follow the rulings of the respective state’s highest

 appellate courts. See, e.g., Johnson v. Fankell, 520 U.S. 911, 916 (1997). If a claim is not plausibly

 pled, dismissal is appropriate because “this basic deficiency should . . . be exposed at the point of

 minimum expenditure of time and money by the parties and the court.” Twombly, 550 U.S. at 558

 (citation omitted).

                                             ARGUMENT

 I.     This Court Should Decide Now that Named Plaintiffs Lack Standing to Press Claims
        Except in the Fifteen States Where They Allege Standing

        Two straightforward principles established by the Supreme Court require dismissal of two

 thirds of the EPPs’ state-law claims for lack of subject-matter jurisdiction: “first, a plaintiff must

 demonstrate standing for each claim he seeks to press; and second, class actions do not change the



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 requirements of standing.” In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., 2021 WL

 100204, at *14 (D.N.J. Jan. 12, 2021) (citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 337

 (2006) and Lewis v. Casey, 518 U.S. 343, 357 (1996), and dismissing claims in thirty-one states

 and territories where no named plaintiff alleged standing).

        Here, named plaintiffs allege injury only from payments they made in fifteen states. EPP

 Compl. ¶¶ 19–20. They do not plead that they incurred an injury in any other state and cannot

 show that any other state’s law could redress the out-of-state injury they allege. Thus, they have

 not demonstrated standing for each claim they seek to press, and dismissal is required for all claims

 in states outside of the fifteen in which named plaintiffs allegedly made payments.

        EPPs nonetheless claim that named plaintiffs have sufficient standing to assert all of the

 claims, regardless of the state, on behalf of absent class members. Moreover, EPPs have suggested

 that, at a minimum, this Court should defer its standing decision until the class certification stage.

 See D.I. 76 at 3–4 (EPP Opp. to Mot. to Dismiss). Neither argument has merit.

        A.      Named Plaintiffs Lack Standing to Assert Claims Outside Their States of
                Injury

        The Third Circuit has followed Supreme Court precedent in holding that “[s]tanding

 requires that the party seeking to invoke federal jurisdiction ‘demonstrate standing for each claim

 he seeks to press.’” Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 359 (3d Cir. 2015) (quoting

 DaimlerChrysler, 547 U.S. at 352).         Neale was a class action case and made clear that

 DaimlerChrysler applies equally in the class action context. Neale, 794 F.3d at 359 (“In the

 context of a class action, Article III must be satisfied by at least one named plaintiff.” (citation and

 quotation marks omitted)). The Third Circuit recently applied the standing principles from

 DaimlerChrysler and Neale to affirm dismissal of one of two claims on the ground that the named

 plaintiffs lacked injury related to that particular claim, despite finding that the named plaintiffs



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 “have standing to assert their first claim” and that “unnamed class members” allegedly had

 standing for the dismissed claim. See Long v. Se. Pa. Transp. Auth., 903 F.3d 312, 323–25 (3d

 Cir. 2018); see also Ponzio v. Mercedes-Benz USA, LLC, 2020 WL 1183733, at *13–14 (D.N.J.

 Mar. 11, 2020) (applying DaimlerChrysler and Neale to dismiss claims for which named plaintiff

 lacked standing).

        Despite these binding principles of standing, EPPs have argued that “their Sensipar

 purchases in certain states should end the Article III inquiry” as to their “standing to pursue the

 claims of absent class members that made purchases in other states.” D.I. 76 at 3. EPPs believe

 that “a plaintiff’s ability to represent the claims held by absent class members is not ‘an Article III

 jurisdictional issue.’” Id.

        The only support EPPs have mustered is an inapposite Supreme Court footnote which

 included the statement “the Article III requirement of remediable injury in fact . . . has nothing to

 do with the text of the statute relied upon.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

 97 n.2 (1988); D.I. 76 at 3. Steel Co. was not a class action case and the footnote did not concern

 class actions or absent class members. The footnote was the Court’s response to Justice Stevens’s

 disagreement with the holding that courts may not “determine whether a cause of action exist[s]

 before determining that the plaintiff ha[s] Article III standing.” Steel Co., 523 U.S. at 96–97 &

 n.2. Part of the Court’s response was that whether a plaintiff has suffered an Article III injury “has

 nothing to do with the text of the statute relied upon.” Id.

        This footnote should not be misinterpreted as holding that standing overall has nothing to

 do with the statute under which a claim is brought, as EPPs apparently believe. See D.I. 76 at 3.

 That would give anyone alleging injury from any conduct free reign to challenge that conduct by

 suing under any statute in any state. Steel Co. itself precludes EPPs’ interpretation because the




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 Court did consider the text of statutes in determining that the plaintiff had no standing. The Court

 analyzed whether “the complaint fails the third test of standing, redressability,” by considering

 whether two separate statutory provisions could provide the plaintiff redress: civil penalties under

 42 U.S.C. § 11045(c) and costs under § 11046(f). See 523 U.S. at 105–07. Finding that neither

 statute’s text allowed recovery, the Court held that plaintiff lacked redressability and thus standing.

 Id. Applying Steel Co. to named plaintiffs’ out-of-state claims, they have no redressability, and

 thus no standing, because they can receive no redress from the laws of states in which they suffered

 no injury. See also Duquesne Light Co. v. EPA, 166 F.3d 609, 613 (3d Cir. 1999) (no redressability

 where the applicable EPA law prohibited the court from ordering the relief sought).

        Courts that properly consider the relevant standing principles invariably rebuff what EPPs

 attempt to do here: press a claim on which no named plaintiff has standing. See, e.g., Ponzio,

 2020 WL 1183733, at *13–14; In re Insulin Pricing Litig., 2019 WL 643709, at *17 (D.N.J. Feb.

 15, 2019); In re Niaspan Antitrust Litig., 2015 WL 8150588, at *3 (E.D. Pa. Dec. 8, 2015); In re

 Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 152–53 (E.D. Pa. 2009) (holding that “a plaintiff

 whose injuries have no causal relation to Pennsylvania, or for whom the laws of Pennsylvania

 cannot provide redress, has no standing to assert a claim under Pennsylvania law, although it may

 have standing under the law of another state”).

        Although EPPs can cite opinions that allowed named plaintiffs to press claims on which

 they lack standing, those opinions contradict the bedrock principle that “the party seeking to invoke

 federal jurisdiction [must] ‘demonstrate standing for each claim he seeks to press.’” Neale, 794

 F.3d at 359 (quoting DaimlerChrysler, 547 U.S. at 352). The Second Circuit, for example, relied

 on the assertion that “class action plaintiffs are not required to have individual standing to press

 any of the claims belonging to their unnamed class members.” Langan v. Johnson & Johnson




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 Consumer Cos., 897 F.3d 88, 95 (2d Cir. 2018). But this expressly conflicts with Neale. The First

 Circuit has made a similarly erroneous conclusion in reliance on its decision to “train[] our Article

 III focus in class actions on the incentives of the named plaintiffs to adequately litigate issues of

 importance to them,” rather than on whether those named plaintiffs have standing for each claim

 they seek to press. In re Asacol Antitrust Litig., 907 F.3d 42, 48–49 (1st Cir. 2018) (citation

 omitted). The Third Circuit, in contrast, has faithfully followed DaimlerChrysler and required

 standing for each claim.2

          B.      The Standing Issue Here Cannot Be Deferred to the Class Certification
                  Decision

          EPPs may ask this Court to defer its decision on standing to class certification, as some

 non-binding court decisions have mistakenly done. See D.I. 76 at 1 (EPPs quoting the statement

 in In re Liquid Aluminum Sulfate Antitrust Litig. that the standing decision should be deferred,

 2017 WL 3131977, at *19 (D.N.J. July 20, 2017)). But that would improperly contravene binding

 precedent.

          “Standing is a ‘threshold question in every federal case.’” Wheeler v. Travelers Ins. Co.,

 22 F.3d 534, 537 (3d Cir. 1994) (quoting Warth v. Seldin, 422 U.S. 490, 498 (1975)). In class

 actions as well, “class representatives must meet Article III standing requirements the moment a

 complaint is filed.”      Neale, 794 F.3d at 367 (emphasis added).            “The threshold standing



  2
      EPPs have also relied on a Seventh Circuit decision to argue that “whether or not there was
      conduct arising out of the laws of other states . . . is really a choice of law analysis” rather than
      a standing analysis. Mots. to Dismiss Hr’g Tr. 108:1–9 (Apr. 28, 2020) (referencing Morrison
      v. YTB Int’l, Inc., 649 F.3d 533 (7th Cir. 2011)). That decision is inapposite because the court
      merely held that it is not a standing issue to determine whether plaintiffs who are already part
      of a lawsuit and have standing outside Illinois have the ability to assert a claim under Illinois
      law where other plaintiffs suffered injury. Id. at 535–36. The Seventh Circuit has not
      addressed what named plaintiffs attempt here: to assert claims, for which they themselves lack
      standing, on behalf of absent class members.


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 determination may not be postponed to class certification[.]” Insulin, 2019 WL 643709, at *16.

        There is no applicable exception to the general rule, although some courts have mistakenly

 applied one based on a misinterpretation of Amchem Products, Inc. v. Windsor, 521 U.S. 591

 (1997). Amchem allowed consideration of certification of a settlement class before considering

 the standing of absent class members because class certification was “logically antecedent” to the

 standing issue. 521 U.S. 591, 612 (1997). Some courts have misinterpreted “logically antecedent”

 to allow deferring a standing determination until the class certification decision whenever that

 would be “efficient” or “makes logical sense.” See Generic Pharm. Pricing, 368 F. Supp. 3d at

 827–31; In re Zetia (Ezetimibe) Antitrust Litig., 2019 WL 1397228, at *22–23 (E.D. Va. Feb. 6,

 2019), rec. adopted in relevant part, 400 F. Supp. 3d 418, 433 (E.D. Va. 2019). Amchem does not

 support such a theory because, in that case, class certification was “logically antecedent” to

 standing only as to the absent class members and only because they would not be part of the case

 if certification were denied. 521 U.S. at 612–13. Amchem was not addressing the standing of the

 named plaintiffs who were already part of the case. See In re Suboxone Antitrust Litig., 64 F.

 Supp. 3d 665, 693 n.16 (E.D. Pa. 2014) (recognizing Amchem’s narrow applicability to the

 standing of absent class members); see also Flecha v. Medicredit, Inc., 946 F.3d 762, 769 (5th Cir.

 2020) (same, and emphasizing that “if it is the class representative who presents a standing

 problem, then that standing issue must be addressed first, prior to deciding class certification”).

 The Amchem Court simply gave no indication that its decision was changing the general rule that

 standing is a “threshold question” in every federal case. E.g., Warth, 422 U.S. at 498.

        Applying the Amchem exception to named plaintiff standing, as EPPs attempt to do here,

 would turn standing law on its head and cause a host of problems. It would “drag[] defendants

 into expensive nationwide class discovery,” In re Magnesium Oxide Antitrust Litig., 2011 WL




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 5008090, at *10 (D.N.J. Oct. 20, 2011), and this Court would be deciding a motion to dismiss

 claims to which no party in the case has standing, which would be an illegitimate advisory opinion.

 See Preiser v. Newkirk, 422 U.S. 395, 401 (1975) (“[A] federal court has neither the power to

 render advisory opinions nor to decide questions that cannot affect the rights of litigants in the case

 before them.” (citation omitted)). The better, and legally justified, route is to dismiss all of the

 claims under the law of states in which named plaintiffs did not pay for the products at issue.

 II.      Many of the Claims Named Plaintiffs Have Standing to Bring Have Fatal Flaws

          Named plaintiffs allege Article III standing for claims they bring under the laws of states

 in which they made payments, but state-specific reasons require dismissal of many of those claims.

          A.     Antitrust Statutes That Do Not Apply to Unilateral Conduct

          EPPs’ Sixth Claim for Relief, against Amgen alone, alleges Amgen committed illegal

 monopolization under Cal. Bus. & Prof. Code §§ 16700, et seq., N.Y. Gen. Bus. L. §§ 340, et seq.,

 and Tenn. Code Ann. §§ 47-25-101, et seq. EPP Compl. ¶ 331. These claims fail as a matter of

 law because those statutes prohibit only concerted conduct, not unilateral conduct. See, e.g., In re

 EpiPen Mktg., Sales Practices & Antitrust Litig., 336 F. Supp. 3d 1256, 1313–14 (D. Kan. 2018)

 (dismissing, on that basis, monopolization claims under California, New York, and Tennessee

 law).3

          B.     Statutes That Prohibit the Claims Brought By Named Plaintiffs Here

          The states of Hawaii and Utah define the right to sue under their antitrust statutes in a way

 that named plaintiffs here cannot satisfy. These limitations, described below, apply to claims



 3
   See also Commonw. Elec. Inspection Servs. v. Town of Clarence, 776 N.Y.S.2d 687, 688–89
 (N.Y. App. Div. 2004) (holding N.Y. Gen. Bus. L. § 340 does not apply to unilateral actions); In
 re Ditropan XL Antitrust Litig., 529 F. Supp. 2d 1098, 1109 (N.D. Cal. 2007) (same as to
 Tennessee law); Dimidowich v. Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 1986) (same as to
 California’s Cartwright Act (§§ 16700, et seq.)).


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 brought in federal court because each limitation “‘actually is part of a State’s framework of

 substantive rights or remedies,’” meaning it is “‘so bound up with the state-created right or remedy

 that it defines the scope of that substantive right or remedy.’” In re Lipitor Antitrust Litig., 336 F.

 Supp. 3d 395, 415–16 (D.N.J. 2018) (citing Shady Grove Orthopedic Assocs. v. Allstate Ins. Co.,

 559 U.S. 393, 421–24 (2010) (Stevens, J. concurring)).

        Hawaii. EPPs’ allege violations of Chapter 480 of Hawaii’s statutory code. That chapter

 authorizes antitrust actions and authorizes indirect purchasers to bring antitrust actions, but in the

 same chapter prohibits indirect purchasers from pursuing a class action unless the Hawaii attorney

 general’s office receives notice and a chance to pursue the case before the defendant is served with

 the complaint. Haw. Rev. Stat. §§ 480-2, -4, -9, -13, -13.3(a) (2017). If the attorney general

 decides to pursue the case, its office takes over the case and the indirect purchaser’s complaint

 “shall be dismissed.” Id. § 13.3(a)(5). Since this procedure defines the right to bring an indirect

 purchaser antitrust claim, it applies in federal court.4 And EPPs admit they did not comply: They

 allege sending a letter on April 30, 2019 “informing” Hawaii’s attorney general of the complaint

 already filed on February 21, 2019. EPP Compl. ¶ 274. Because the attorney general never had a

 chance to consider taking over the case before defendants were served, EPPs’ right to sue never

 vested. This is grounds for dismissal, as other courts have done when indirect purchasers did not

 comply with Hawaii’s definition of their right to sue. See, e.g., Lipitor, 336 F. Supp. 3d at 415–

 16; In re Asacol Antitrust Litig., 2016 WL 4083333, at *14–15 (D. Mass. July 20, 2016).



 4
   Hawaii’s restriction is distinguishable from the broadly applicable limitation at issue in Shady
 Grove—no class actions for any statutory penalty under New York law. Hawaii’s restriction
 applies only to private indirect purchaser antitrust claims, not to any other claim under any other
 law. The Hawaii statute also specifies that it “limits the rights” of indirect purchasers by clarifying
 that the restriction “shall not limit the rights of consumers to bring class actions against any person
 based on unfair or deceptive acts or practices[.]” Haw. Rev. Stat. § 480-13.3(b) (emphasis added).


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        The courts that have declined to apply Hawaii law in federal court misunderstood that law.

 Some courts believed that the statute did not “create a substantive right to recovery that only ‘vests’

 after some action or inaction of the state attorney general.” Aggrenox, 94 F. Supp. 3d at 254. But

 that is exactly what the statute does by forbidding plaintiffs from serving the complaint on the

 defendant, and thus starting the lawsuit, unless the attorney general declines to pursue the case.

 See Haw. Rev. Stat. § 480-13.3(a). Other courts believed Hawaii’s restriction was akin to the mere

 notice requirements under Arizona and Nevada law. See, e.g., Generic Pharm. Pricing, 368 F.

 Supp. 3d at 834–35. Arizona and Nevada’s statutes are distinguishable because they specify no

 effect of failing to provide notice.       See Ariz. Rev. Stat. § 44-1415(A); Nev. Rev. Stat.

 § 598A.210(3). Compliance with Hawaii’s statute, on the other hand, creates the right to pursue

 the suit. See Haw. Rev. Stat. § 480-13.3(a). EPPs’ noncompliance means they have no such right.

        Missouri. The Missouri statute under which EPPs bring a claim authorizes claims only by

 consumers who pay for a product for their own use, as opposed to benefit plans that pay for

 products that their plan participants use. See Mo. Rev. Stat. § 407.025(1) (allowing claims for

 purchases “primarily for personal, family or household purposes”). Because named plaintiffs are

 health care payors, not consumers, their Missouri statutory claim should be dismissed, as multiple

 courts have done. See, e.g., In re Express Scripts, Inc., Pharm. Benefits Mgmt. Litig., 2006 WL

 2632328, at *10 (E.D. Mo. Sept. 13, 2006); Asacol, 2016 WL 4083333, at *12.

        Utah. The Utah statute under which EPPs bring claims provides that “[a] person who is a

 citizen of this state or a resident of this state . . . may bring an action[.]” Utah Code § 76-10-

 3109(1)(a). None of the named plaintiffs allege they are citizens or residents of Utah. EPP Compl.

 ¶¶ 19–21 (alleging only New York and Arizona). Thus, their claims under Utah statute should be

 dismissed, as multiple courts have done. In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 759–




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 60 (E.D. Pa. 2014); Aggrenox, 94 F. Supp. 3d at 251.

        C.      Unjust Enrichment Claims Seeking To Circumvent Statutory Prohibitions

        EPPs’ unjust enrichment claims rest entirely on the same alleged anticompetitive conduct

 underlying EPPs’ statutory claims. In such circumstances, “the vast majority of courts have held

 that indirect purchasers may not bring state claims for unjust enrichment if they otherwise would

 be barred from bringing a claim under that state’s antitrust and consumer-protection statutes[.]”

 Niaspan, 42 F. Supp. 3d at 763 (collecting cases).5 It “amounts to an attempt to circumvent Illinois

 Brick.” In re Novartis & Par Antitrust Litig., 2019 WL 3841711, at *6 (S.D.N.Y. Aug. 15, 2019).

 “[A]llowing such restitution would undermine state legislative policies and an entire body of

 substantive law.” In re Flonase Antitrust Litig., 692 F. Supp. 2d 524, 542 n.13 (E.D. Pa. 2010).

        Thus, the Court should dismiss EPPs’ unjust enrichment claims in the following states that

 follow Illinois Brick and prohibit indirect purchasers from seeking antitrust damages: Alaska,

 Florida, New Jersey, Pennsylvania, and South Carolina. See Novartis, 2019 WL 3841711, at *6

 (dismissing Alaska, New Jersey, Pennsylvania, and South Carolina claims); In re Lidoderm

 Antitrust Litig., 103 F. Supp. 3d 1155, 1175 (N.D. Cal. 2015) (addressing similar claims including

 Florida).

        For states that allow indirect purchaser antitrust suits, but define the right in a certain way,

 the same rationale applies to justify preventing indirect purchasers from asserting as unjust

 enrichment what they cannot assert under expressly written state law. On this basis the Court

 should dismiss the unjust enrichment claims brought under Hawaii, Missouri, and Utah law.




 5
  See also Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc., 171 F.3d 912,
 937 (3d Cir. 1999) (affirming dismissal of unjust enrichment claims where dismissal of antitrust,
 RICO, and traditional tort claims also were affirmed on appeal).


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        D.      Unjust Enrichment Claims in States Requiring a Direct Benefit

        The common law of the following statutes prevents plaintiffs from recovering for unjust

 enrichment unless they provide a direct benefit to the defendant, which EPPs do not allege here.

 See EPP Compl. ¶ 265(c) (excludes from the class those “who purchased Sensipar . . . directly

 from Defendants or their affiliates”)

            Florida: In re Packaged Seafood Prods. Antitrust Litig., 242 F. Supp. 3d 1033, 1090
             (S.D. Cal. 2017) (holding that Florida Supreme Court “explicitly acknowledged ‘that
             to prevail on an unjust enrichment claim, the plaintiff must directly confer a benefit to
             the defendant’” (quoting Kopel v. Kopel, 229 So. 3d 812, 818 (Fla. 2017)))

            New Jersey: Block v. Jaguar Land Rover N. Am., LLC, 2016 WL 3032682, at *4
             (D.N.J. May 26, 2016) (surveying state law and holding that “New Jersey law requires
             a claim for unjust enrichment to allege a direct relationship between the conferrer of a
             benefit and the recipient”)

            New York: Fenerjian v. Nongshim Co., 72 F. Supp. 3d 1058, 1088–89 (N.D. Cal.
             2014) (concluding that, although New York law does not require privity, relationships
             between indirect purchasers of products and defendants who allegedly fixed prices
             “was too attenuated for an unjust enrichment claim” (citing Sperry v. Crompton Corp.,
             8 N.Y.3d 204, 215 (N.Y. 2007), and New York ex rel. Spitzer v. Daicel Chem Indus.,
             Ltd., 42 A.D.3d 301, 304 (N.Y. App. Div. 2007)).

            Pennsylvania: Novartis, 2019 WL 3841711, at *6 (surveying Pennsylvania precedent
             and holding that there is a “direct benefit requirement” (citing Stutzle v. Rhone-Poulenc
             S.A., 2003 WL 22250424, at *1–2 (Pa. Ct. Com. Pl. Sept. 26, 2003))).

        E.      Unjust Enrichment as a Standalone Claim Under California Law

        Unjust enrichment is only a theory of recovery under California law, not a standalone

 claim, and thus courts consistently dismiss California unjust enrichment claims. See, e.g.,

 Lidoderm, 103 F. Supp. 3d at 1176; Niaspan, 42 F. Supp. 3d at 766–67.

 III.   There Are Many Additional Flaws in Claims for Which EPPs Lack Standing

        Although the Court lacks subject matter jurisdiction to address the merits of claims alleged

 under the laws of states in which the named plaintiffs lack standing, many of those claims also

 have fatal flaws on the merits.




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        A.      Statutes That Prohibit the Claims Brought By Named Plaintiffs Here

        Illinois. Illinois forbids any private indirect purchaser antitrust class actions. The Illinois

 Antitrust Act provides that “no person shall be authorized to maintain a class action in any court

 of this State for indirect purchasers asserting claims under this Act, with the sole exception of this

 State’s Attorney General.” 740 Ill. Comp. Stat. 10/7(2).          Illinois’s prohibition on indirect

 purchaser antitrust class actions applies in federal court despite Shady Grove for reasons similar

 to Hawaii’s restriction on class actions. As one Third Circuit district court explained, “(1) the

 restrictions apply only to the IAA, (2) they are incorporated in the same statutory provision as the

 underlying right, not a separate procedural rule, and (3) the restrictions appear to reflect a policy

 judgment about managing the danger of duplicative recoveries.” In re Wellbutrin XL Antitrust

 Litig., 756 F. Supp. 2d 670, 677 (E.D. Pa. 2010). Numerous courts have agreed and dismissed

 indirect purchasers’ class action claims. See, e.g., Generic Pharm. Pricing, 368 F. Supp. 3d at

 833–34; Flonase, 692 F. Supp. 2d at 539; Lipitor, 336 F. Supp. 3d at 417–18.

        Massachusetts. EPPs allege a claim under Massachusetts General Laws Chapter 93A § 9,

 see EPP Compl. ¶ 354, but § 9 does not apply here. Plaintiffs that purchased products “in the

 conduct of any trade or commerce” can only bring a claim under § 11, which is fatal to the alleged

 claim because § 11 follows federal law’s Illinois Brick ruling and thus prohibits suits by indirect

 purchasers. See Winters v. Ocean Spray Cranberries, Inc., 296 F. Supp. 3d 311, 324–25 (D. Mass.

 2017); Asacol, 2016 WL 4083333, at *13.

        Vermont. EPPs assert a claim under a Vermont statute that does not allow claims by health

 care payors like the named plaintiffs, but rather only for claims for purchases “for his or her use

 or benefit or the use or benefit of a member of his or her household.” Vt. St. Ann. tit. 9 § 2451a(a);

 EPP Compl. ¶¶ 309(z), 321(z), 331(z). See also In re Aggrenox Antitrust Litig., 2016 WL

 4204478, at *9 (D. Conn. Aug. 9, 2016) (dismissing claim on this basis).


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        B.      Antitrust Statutes That Do Not Apply to Unilateral Conduct

        EPPs’ Sixth Claim for Relief against Amgen alone does not state a claim under Kansas or

 Mississippi statute because those statutes apply only to concerted conduct. The Kansas Monopolies

 and Unfair Trade Act “by its terms prohibits combinations and conspiracies only.” In re Relafen

 Antitrust Litig., 221 F.R.D. 260, 283 (D. Mass. 2004). And the Mississippi statute provides a

 private cause of action only for “person[s], natural or artificial, injured or damaged by a trust and

 combine,” and defines “trust or combine” as “a combination, contract, understanding or

 agreement, expressed or implied, between two or more persons, corporations or firms or

 association of persons or between any one or more of either with one or more of the others.” Miss.

 Code Ann. §§ 75-21-1, 9, -11.

        C.      Antitrust Statutes That Apply Only to Conduct That Occurred in the State

        Certain states’ antitrust statutes apply only to conduct that occurs in that state.

            Mississippi (Miss. Code Ann. §§ 75-21-1, et seq.): Standard Oil Co. of Ky. v. State,
             65 So. 468, 471 (Miss. 1914) (defining the state’s antitrust statute to apply only if the
             antitrust conspiracy was “accomplished in part at least by transactions which are also
             wholly intrastate”); California v. Infineon Techs. AG, 531 F. Supp. 2d 1124, 1158–59
             (N.D. Cal. 2007) (dismissing claim on this basis).

            Nevada (Nev. Rev. Stat. Ann. §§ 598A, et seq.): Nev. Rev. Stat. § 598A.060(1)
             (“Every activity enumerated in this subsection constitutes a contract, combination or
             conspiracy in restraint of trade, and it is unlawful to conduct any part of any such
             activity in this state[.]” (emphasis added)).

            South Dakota (S.D. Codified Laws §§ 37-1, et seq.): S.D.C.L. § 37-1-3.1 (“A contract,
             combination, or conspiracy between two or more persons in restraint of trade or
             commerce any part of which is within this state is unlawful.” (emphases added)).

            West Virginia (W. Va. Code §§ 47-18-3, et seq.): W. Va. Code § 47-18-3(a)
             (prohibiting “[e]very contract, combination in the form of trust or otherwise, or
             conspiracy in restraint of trade or commerce in this State.” (emphasis added)); Kessel
             v. Monongalia Cnty. Gen. Hosp. Co., 648 S.E.2d 366, 375 (W. Va. 2007) (“The primary
             distinction between W. Va. Code § 47–18–3(a) and Section 1 of the Sherman Act is
             that the West Virginia statute applies to contracts and conspiracies in restraint of trade
             ‘in this State[.]’”).



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         EPPs have not alleged that any alleged misconduct occurred in these states, which requires

 dismissal. See In re Cast Iron Soil Pipe & Fittings Antitrust Litig., 2015 WL 5166014, at *24–26

 (E.D. Tenn. June 24, 2015) (dismissing, on this basis claims under Mississippi, Nevada, South

 Dakota, and West Virginia law). The courts that decline to dismiss claims on this basis improperly

 broaden the scope of the state law without license by the text of the statute or the state appellate

 courts. See, e.g., In re Remicade Antitrust Litig., 345 F. Supp. 3d 566, 586–87 (E.D. Pa. 2018).

         D.      Unjust Enrichment Claims Seeking To Circumvent Statutory Prohibitions

         As explained above, supra § II.C, unjust enrichment claims should be dismissed when

 brought under the laws of states with statutes that address anticompetitive conduct but prohibit

 certain types of indirect purchasers from recovering damages or filing class actions. This applies

 to the unjust enrichment claims in seventeen of the states and territories in which named plaintiffs

 lack standing yet.6 The same rationale also counsels in favor of dismissing the unjust enrichment

 claims in Massachusetts and Vermont because those state legislatures crafted their statutes in such

 a way that excludes named plaintiffs’ claims. This Court should not assume, without controlling

 precedent from a particular state, that a state’s common law claim of unjust enrichment allows the

 very claim that its state legislature prohibited.

         E.      Unjust Enrichment Claims in States Requiring a Direct Benefit

         In addition to the states identified supra § II.D, the following states’ laws preclude indirect

 purchasers from stating claims for unjust enrichment because they require a plaintiff to have

 provided a direct benefit to the defendant.

             Alabama: Opelika Prod. Credit Ass’n, Inc., v. Lamb, 361 So.2d 95, 99 (Ala. 1978)

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   The states prohibiting indirect purchaser antitrust claims for damages are at least the following
 seventeen: Arkansas, Colorado, Connecticut, Delaware, Georgia, Idaho, Illinois, Kentucky,
 Louisiana, Massachusetts, Montana, Oklahoma, Puerto Rico, Texas, Virginia, Washington, and
 Wyoming. Novartis, 2019 WL 3841711, at *6; Lidoderm, 103 F. Supp. 3d at 1175.


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            (holding that the benefit must be “realized as a direct result of the transaction”); Danny
            Lynn Elec. & Plumbing, LLC v. Veolia ES Solid Waste Se., Inc., 2011 WL 2893629, at
            *6 (M.D. Ala. July 19, 2011) (“[P]laintiffs did not confer a direct benefit . . . . [T]here
            was no money paid by the plaintiffs to the named individuals.”).

           Georgia: Archer v. Holmes, 2018 WL 534475, at *5 & n.36 (N.D. Ga. Jan. 23, 2018)
            (“[I]n Georgia, unjust enrichment claims lie only in those situations where a defendant
            has received a direct benefit from a plaintiff.”); see also Parm v. Nat’l Bank of Cal.,
            N.A., 242 F. Supp. 3d 1321, 1334 (N.D. Ga. 2017) (collecting cases holding similarly).

           Idaho: Zetia, 2019 WL 1397228, at *36 (“Because the EPPs as a class did not deal
            directly with any Defendant, they may not advance an ‘indirect’ unjust enrichment
            theory.” (citing Lincoln Land Co. v. LP Broadband, Inc., 408 P.3d 465 (Idaho 2017))),
            rec. adopted, 400 F. Supp. 3d at 443–44 (EPPs did not object to magistrate’s decision).

           Kansas: In re Aftermarket Filters Antitrust Litig., 2010 WL 1416259, at *2–3 (N.D.
            Ill. Apr. 1, 2010) (Kansas law has a direct benefit requirement, and dismissing indirect
            purchasers’ claim because any benefit provided “would be on others in the chain of
            distribution from whom they purchased, not on defendants”).

           Kentucky: Pixler v. Huff, 2011 WL 5597327, at *11 (W.D. Ky. Nov. 17, 2011)
            (collecting cases holding that courts applying Kentucky law have “consistently . . . not
            only require[d] a benefit be conferred upon the defendant, but also that the plaintiff be
            the party conferring that benefit”).

           Maine: Novartis, 2019 WL 3841711, at *6–7 (Maine law has a direct benefit
            requirement (citing Rivers v. Amato, 2001 WL 1736498, at *4 (Me. Super. Ct. June 22,
            2001))).

           Michigan: In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d 372, 427
            (S.D.N.Y. 2017) (“Michigan courts only employ the doctrine of unjust enrichment in
            cases where the defendant directly receive[d] a benefit from the plaintiff.” (internal
            quotations and citations omitted)); A & M Supply Co. v. Microsoft Corp., 2008 WL
            540883, at *2 (Mich. Ct. App. Feb. 28, 2008) (unjust enrichment claim “not viable”
            where plaintiffs cannot show that “[defendant] received any direct payment or other
            benefit from [indirect] purchasers”).

           North Carolina: Flonase, 692 F. Supp. 2d at 545 & n.15 (dismissing indirect purchaser
            unjust enrichment claim because North Carolina law requires “a plaintiff to establish
            that it directly conferred a benefit on the defendant” (citing Effler v. Pyles, 380 S.E.2d
            149, 152 (N.C. Ct. App. 1989))).7

           North Dakota: Apache Corp. v. MDU Res. Grp., Inc., 603 N.W.2d 891, 895 (N.D.

 7
   Although some North Carolina courts have allowed an indirect benefit, those courts recognize
 that “‘conferr[ing] some benefit on the defendant’” is still required, which EPPs do not plead here.
 Bandy v. Gibson, 2017 WL 3207068, at *5 (N.C. Super. Ct. July 26, 2017).


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             1999) (North Dakota law requires that the defendant “obtained a benefit at the direct
             expense of the [complainant].”); In re DDAVP Indirect Purchaser Antitrust Litig., 903
             F. Supp. 2d 198, 235 (S.D.N.Y. 2012) (same).

            Rhode Island: J.P. Morgan Chase Bank, N.A. v. Leigh, 2011 WL 4351584, at *2
             (D.R.I. Aug. 23, 2011) (receiving an “indirect benefit” insufficient), rec. adopted, 2011
             WL 4351561 (D.R.I. Sept. 15, 2011).

 IV.     Unjust Enrichment Claims That Duplicate Statutory Claims Should Be Dismissed

         To the extent the Court holds that EPPs have plausibly pled any statutory claim in a

 particular state, the Court should dismiss the unjust enrichment claim for that state because it is

 duplicative. EPPs’ Complaint asks the Court to interpret the unjust enrichment claims as “pleaded

 in the alternative,” ¶ 365, but “where the unjust enrichment claim relies upon the same factual

 predicates as a plaintiff’s legal causes of action,” as here, “it is not a true alternative theory of relief

 but rather is duplicative of those legal causes of action.” Licul v. Volkswagen Grp. of Am., Inc.,

 2013 WL 6328734, at *7 (S.D. Fla. Dec. 5, 2013). Here, no circumstances exist in which Amgen’s

 conduct could be permissible according to standards of conduct set forth by state legislative bodies,

 but wrongful under the unjust enrichment law of those same states. This is often the case when

 indirect purchasers plead state antitrust claims and unjust claims, which is why courts dismiss such

 duplicative unjust enrichment claims. See, e.g., Novartis & Par Antitrust Litig., 2019 WL

 3841711, at *7; In re Ford Tailgate Litig., 2014 WL 1007066, at *5 (N.D. Cal. Mar. 12, 2014); In

 re Apple & AT&T iPad Unlimited Data Plan Litig., 802 F. Supp. 2d 1070, 1077 (N.D. Cal. 2011).8



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   The grounds for dismissal on this basis are particularly strong for Hawaii and Massachusetts
 because those unjust enrichment claims are unavailable if there is a remedy at law covering the
 same theory of the claim, even if such a claim under statutory or common law lacked merit. See,
 e.g., In re Chocolate Confectionary Antitrust Litig., 749 F. Supp. 2d 224, 237 (M.D. Pa. 2010)
 (“Under Hawaii law, ‘[t]he absence of an adequate remedy at law . . . is the “necessary
 prerequisite” to maintaining equitable claims.’” (quoting AAA Haw., LLC v. Haw. Ins. Consultants,
 Ltd., 2008 WL 4907976, at *3 (D. Haw. Nov. 12, 2008))); Gen. Motors, 257 F. Supp. 3d at 419
 (explaining that a claim for unjust enrichment is barred “where an adequate remedy at law exists—
                                                                              (Cont’d on next page)

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 Dismissing duplicative claims “serves an important function in streamlining the litigation

 proceedings of a complex case.” Novartis, 2019 WL 3841711, at *7.

                                           CONCLUSION

        EPPs’ Complaint should be dismissed in its entirety for the reasons explained in Amgen’s

 Brief in Support of its Motion to Dismiss Direct Purchaser Plaintiffs’ Consolidated Complaint. In

 addition, EPPs’ lack of standing and failure to state a claim requires dismissal of EPPs’ claims

 under the laws of all states and territories except the consumer protection claim under Florida law

 and the antitrust conspiracy claims under New York and Tennessee law.

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  March 30, 2021




 regardless of the viability of that theory or whether it sounds in contract, fraud, or tort” (emphasis
 added)).


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2021, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on March 30,

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